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 7
 8                               UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                        EASTERN DIVISION
11 BILL UZETA, an individual,                          Case No.
12                      Plaintiff,                     NOTICE OF REMOVAL OF
                                                       ACTION UNDER 28 U.S.C. § 1441(a)
13            v.
                                                       State Court Complaint filed 05/01/15
14 ASSET ACCEPTANCE, LLC and
   DOES 1-10, inclusive,
15
              Defendants.
16
17            TO THE CLERK OF THE COURT:
18            PLEASE TAKE NOTICE that pursuant to 28 U.S.C. sections 1441(a) and
19 1331, Defendant Asset Acceptance, LLC (“Asset” and/or “Defendant”) hereby
20 removes this action from the Superior Court of the State of California for the County
21 of San Bernardino, Case No. CIVDS1506272 (the “State Case”) to the United States
22 District Court for the Central District of California, Eastern Division. The grounds
23 for this removal are:
24            FACTUAL SUMMARY
25            1.        On May 01, 2015, plaintiff Bill Uzeta commenced the State Case
26 alleging violations of the federal Fair Debt Collection Practices Act (15 U.S.C. §
27 1692 et seq.), the Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code §
28 1788 et seq.) and Telephone Consumer Protection Act (47 U.S.C. § 227, et seq.).
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                             NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)
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 1            2.        Asset was served with the summons and complaint on May 29, 2015.
 2            3.        This notice is therefore timely pursuant to 28 U.S.C. § 1446(b) because
 3 it is being filed within thirty days after service of the complaint.
 4            JURISDICTION
 5            4.        Removal is proper pursuant to 28 U.S.C. section 1441(a), which
 6 entitles a defendant to remove “any civil action brought in a State court of which the
 7 district courts of the United States have original jurisdiction,” and 28 U.S.C. section
 8 1331, which gives district courts “original jurisdiction of all civil actions arising
 9 under the Constitution, laws, or treaties of the United States.” The district court has
10 supplemental jurisdiction over the alleged state law claim because it is so related to
11 the claim over which the district court has original jurisdiction that it “form[s] part
12 of the same case or controversy.” 28 U.S.C. § 1367(a).
13            5.        Pursuant to 28 U.S.C. section 1446(a), Asset attaches as Exhibit 1 and
14 Exhibit 2 the copies of all process, pleadings, and orders in the State Court action.
15
16 DATED: June 29, 2015                         SOLOMON WARD SEIDENWURM &
                                                SMITH, LLP
17
18
19                                              By: s/Leah S. Strickland
20                                                  THOMAS F. LANDERS
                                                    LEAH S. STRICKLAND
21
                                                    Attorneys for Defendant
22                                                  ASSET ACCEPTANCE, LLC
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 1                                            INDEX TO EXHIBITS
 2                                                                                                              Pages
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 4 Exhibit 1:           State Court Complaint ................................................................... 1-6
 5 Exhibit 2:           State Court Answer ....................................................................... 7-13
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